                      UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           STATESVILLE DIVISION
                     CRIMINAL ACTION NO. 5:06CR30-2-V

UNITED STATES OF AMERICA                 )
                                         )
              v.                         )              ORDER
                                         )
PHYSIQUE DALTON,                         )
                                         )
              Defendant.                 )
                                         )

       THIS MATTER is before the Court on the Defendant’s pro se Motion for the

Appointment of New Counsel, filed on June 5, 2008. (Document #178).

       On December 18, 2007, the Defendant entered into an amended plea agreement

with the Government. Document #150. Pursuant to that agreement, the Defendant pled

guilty to Count One in the Bill of Indictment, namely conspiracy to possess with intent to

distribute cocaine base in excess of fifty (50) grams.1 Id. at 1-2. The Court has scheduled

the Defendant for sentencing on June 30, 2008 at 2:20 PM.

       In his pro se filing, the Defendant requests that the Court appoint him a new

attorney before his sentencing. Document #178 at 1. The Defendant complains of a lack

of contact with his current counsel. Id. Specifically, the Defendant lists a number of

matters (discovery, his pre-sentence report, the possibility of a downward departure, the

term of imprisonment that he might receive) that he would like to discuss with his lawyer.

       The Court will address the Defendant’s motion at the time of sentencing. However,


       1
       Magistrate Judge David Keesler accepted the Defendant’s guilty plea that same day.
See Document #151.

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at that time, the Court will require defense counsel and the Defendant to be prepared to

proceed with sentencing in this matter if the motion for appointment of new counsel is

denied.

      IT IS, THEREFORE, ORDERED THAT:

      1) Defendant’s Motion for the Appointment of New Counsel will be heard on June

      30, 2008 at 2:20 PM in conjunction with the previously scheduled sentencing

      hearing;

      2) The Clerk shall forward a copy of this Order to the Defendant at his current place

      of incarceration.



SO ORDERED.


                                            Signed: June 5, 2008




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